' Case 1:05-cv-01153-.]DT-STA Document 21 Filed 08/16/05 Page 1 of 3 Page|D 6

 

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IN THE UNITED STATES DlSTRlCT COURT FOR 400/6-\0.0
THE WESTERN DISTRICT OF TENNESSEE ~,_ 4}/ 6_ '
EASTERN I)IVISION ngy,/<W '33
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HoLLY MooRE, //:;,a,, `, _
on behalf of herself and all others similarly w "”@Cii/ /?/
situated, Judge Todd
Magistrate-Judge Anderson
Plaintiffs,
v. Case No.: 05-CV-1153
THE GlLLETTE COMPANY,
Defendant.

 

_ _ ORDER GRANTING MOTION TO EXTEND TIME TO MOVE,
ANSWER OR OTHERWISE RESPOND TO AMENDED COMPLAINT PENDING
RULING ON GILLETTE’S MGTION 'I`O STAY

 

This matter came before the Court on the motion of Defendant The Gillette Company
("Gil}ette”) for an extension of time within Whioh to move, answer, or otherwise respond to
Plaintiff’ s Amended Complaint. The Court finds that Gillette’s Motion is Well-taken and, good
cause appearing is GRANTED. Accordingly, it is hereby

ORDERED that Defendant Gillette shall have an extension of time, through and
including thirty (30) days after the Couit’s ruling on Gillette’s Motion to Stay All Proceedings
Pending Decision by the Judicial Panel on l\/lultidistrict Litigation to Transfer Action, Within
Which to move, answer, or otherwise respond to Plaintit`t” s Amended Complaint.

lt is further ORDERED that Defendant Gillette’s Request for an Expedited Ruling is

hereby withdrawn

~l’,";
Dated: August g 2005 U@/WVA b W

] ]35714_1 Thls document entered on the docket ln compliance
wlth Rule 58 end.'or_?S {a) FRCP on q 5

Case 1:05-cv-01153-.]DT-STA Document 21 Filed 08/16/05 Page 2 of 3 Page|D 7

Cc; All Counsel of Record

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Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 1:05-CV-01153 Was distributed by faX, mail, or direct printing on
August 17, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

